Case 1:03-cV-01226-.]DB-tmp Document 31 Filed 05/06/05 Page 1 of 3 Page|D 56

IN THE UNITED STATES DISTRICT COURT

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FoR THE wEsTERN DISTRICT oF TENNESSEE gsmr ~+L-.
EASTERN DIVISION ‘6 ph 2. ll
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d£:§;\, drin 1¢;';/ rf?
BILLIE D. MCKINNIE, wg_ C;:fr-,'f$ 013?1(1307
1 '."L,':A,CKS\ON .
Plaimiff,
v. No. 03-1226-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants .

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

<?»
IT Is So 0RDERED this é> day of May, 2005.

   

 

 
  

]. DANIEL BREEN
NIT D STATES DISTRICT JUDGE

w document entered on the docket sheet in compliance
‘.'*h P~r:!e ‘__~'-B and/or 79 (a) FHCP On '

 

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Honorable J. Breen
US DISTRICT COURT

